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  DISTRICT COURT, DENVER COUNTY
  STATE OF COLORADO
  Denver District Court                                      DATE FILED: February 5, 2020 6:51 PM
                                                             Fl _NG ID: BC2C7096A2F7C
  1437 Bannock Street                                        CASE NUMBER: 2020CV30486
  Denver, Colorado 80202

  Plaintiff:

  ROBBIE MARQUEZ

  v.

  Defendant:

  FRITO-LAY, INC.
                                                                      ♦ COURT USE ONLY •

  Attorneys for Plaintiff:
  Brad R. Irwin, Esq., Reg. No. 16906                            Case No.:
  IRWIN FRALEY, PLLC
  6377 S. Revere Parkway, Suite 400
  Centennial, Colorado 80111                                     Courtroom:
  Phone: 303-999-9000
  Fax:     303-999-9001
  Email: birwin@coloradolawyers.com

                               COMPLAINT AND JURY DEMAND

        Plaintiff, Robbie Marquez, by and through his attorneys, IRWIN FRALEY, PLLC, submits
 this Complaint against Defendant, Frito-Lay, Inc., and in support thereof, states and avers the
 following:

                                  PRELIMINARY STATEMENT

         1.      This is an action for wrongful discharge arising out of the termination of employment
 of Plaintiff, Robbie Marquez, by Defendant, Frito-Lay, Inc., in retaliation for the filing of a worker's
 compensation claim and in violation of Colorado law.

                                                VENUE

       2.      Pursuant to C.R.C.P. Rule 98(c), venue is proper in Denver County, Colorado, as
 Defendant has a place of business located in Denver, Colorado where Plaintiff was employed.




                                             EXHIBIT C
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                           PARTIES AND GENERAL ALLEGATIONS

         3.     At all times relevant to this action, Plaintiff, Robbie Marquez, was a resident of the
 State of Colorado.

         4.     Defendant, Frito-Lay, Inc. is a Delaware corporation authorized to do business in the
 state of Colorado, with a place of business located at 3995 Nome Street, Denver, Colorado.

                                    FACTUAL ALLEGATIONS

       5.       Plaintiff, Robbie Marquez, began his employment with Defendant, Frito-Lay, Inc., in
 May 1990.

        6.       Plaintiff was employed by Defendant as a Route Sales Representative. Plaintiff
 sustained injuries during the course and scope of his employment with Defendant as a result of
 various activities including, but not limited to, pushing racks of merchandise weighing up to 300
 pounds, stocking shelves, lifting, carrying, bending and twisting to perform his job duties.

      7.      Plaintiff's injuries eventually required him to take time off of work on or about
 December 21, 2017.

       8.     As a direct and proximate result of these injuries, Plaintiff was required file a
 worker's compensation claim with his employer pursuant to the Colorado Workers Compensation
 Act.

         9.       Pursuant to this requirement to provide notice to his employer of any work-related
 injuries, Plaintiff reported his injuries to Defendant with an approximate date of injury of December
 21, 2017.

         10.     On or about January 25, 2018, Plaintiff received a text from his immediate supervisor,
 James Healey, to come in and meet with him. Plaintiff went to meet with Mr. Healey the following
 day on January 26, 2018, at which time Mr. Healey accused Plaintiff of "timecard fraud" and placed
 Plaintiff on suspension without showing him any documentation or proof of any alleged timecard
 fraud.

        11.     On or about, January 31, 2018, Defendant sent Plaintiff a packet of information to
 apply for Short-Tema Disability and Family Medical Leave.

        12.     Plaintiff was subsequently terminated from employment with Defendant on February
 7, 2018, again without providing Plaintiff with any documentation or proof of any alleged timecard
 fraud.

        13.    Prior to his termination, Plaintiff had worked for Defendant for over 27 years without
 any employee discipline, write-ups, warnings, or allegations of any improper conduct or
 performance issues.

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                                       CLAIM FOR RELIEF
                                        (Wrongful Discharge)

         14.      Plaintiff hereby incorporates all preceding paragraphs of this Complaint, as though
 fully set forth herein.

        15.     Plaintiff was hired by Defendant in May 1990.

         16.     During the course and scope of Plaintiffs employment with Defendant, Plaintiff
 exercised his legal right and duty under the Colorado Workers Compensation Act to file a claim for
 benefits as a direct and proximate result of the work-related injuries he sustained.

         17.     Defendant was aware, or reasonably should have been aware, that Plaintiff had a legal
 right and duty to file a worker's compensation claim and to receive benefits with regard to any work-
 related injuries that he sustained during the course and scope of his employment with Defendant.

         18.     Defendant discharged Plaintiff on February 7, 2018, as a direct and proximate result
 of Plaintiff exercising his legal right and duty under Colorado law as a worker, and as an employee
 of Defendant, to file a claim and receive worker's compensation benefits for his work-related
 injuries.

         19.    As a direct and proximate result of the wrongful discharge by Defendant, Plaintiff
 has sustained both economic and noneconomic losses.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of the
 Plaintiff and against Defendant and grant the following relief:

        A.      Compensation for any and all past and future economic losses;

        B.      Compensation for any and all past and future noneconomic losses for pain and
                suffering, inconvenience, emotional distress, anxiety, and loss of enjoyment of life;

        C.      Compensation for any and all other out-of-pocket expenses sustained or incurred;

        D.      Costs, expert witness fees, and interest as provided by law; and,

        E.      Such further relief as the Court deems just and proper.

                                          JURY DEMAND

        Plaintiff hereby requests a trial by jury of all issues to be determined.




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        Dated: February 5, 2020                             Respectfully submitted,

                                                            IRWIN FRALEY, PLLC

                                                           s/ Brad R. Irwin
                                                           Brad R. Irwin, Esq.

                                                            Attorneys for Plaintiff


        Plaintiff's Address:
        152 S. Newbern Way
        Aurora, CO 80018


  This pleading wasfiled with the Court through the Colorado ICCES Electronic Filing System.
    Pursuant to C.R. C.P. 121 § 1-26, the original signed copy of this pleading is on file with
                                    IR WIN FRALEY, PLLC.




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